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    x                                                with leave as indicated




        August 17, 2017
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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   BILLIE RENÉ FRANCES                   )   Case No. SACV17-01386-JVS-KESx
                                           )
12   LILLIAN POWERS,                       )
                                           )   ATTACHMENT TO ORDER
13                      Plaintiff,         )
                                           )   RECOMMENDING DENIAL OF
14                 v.                      )   APPLICATION TO PROCEED IN
                                           )   FORMA PAUPERIS
                                           )
15   BANK OF NEW YORK                      )
     MELLON, et al.,                       )
16                                         )
17                      Defendants.

18
19                                              I.
20                                   SCREENING AUTHORITY
21         On August 11, 2017, Ms. Powers (“Plaintiff”) filed a pro se complaint
22   accompanied by an application to proceed In Forma Pauperis (“IFP”). (Dkt. 1
23   “Complaint;” Dkt. 3.) Before granting an application to proceed IFP, the Court
24   is required to screen the Complaint to determine if the action (1) is frivolous or
25   malicious; (2) fails to state a claim on which relief may be granted; or (3) seeks
26   monetary relief against a defendant who is immune from such relief. 28 U.S.C.
27   § 1915(e)(2); Calhoun v. Stahl, 254 F.3d 845 (9th Cir. 2001) (“[T]he provisions
28   of 28 U.S.C. § 1915(e)(2)(B) are not limited to prisoners.”); Lopez v. Smith, 203
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 1   F.3d 1122, 1127 (9th Cir. 2000) (en banc) (noting § 1915(e) “not only permits
 2   but requires” the court to sua sponte dismiss an IFP complaint that fails to state
 3   a claim).
 4         For the reasons stated below, Plaintiff’s Complaint fails to state a claim.
 5   The Court therefore recommends that Plaintiff’s IFP application be denied and
 6   her Complaint dismissed, but with leave to amend both.
 7                                               II.
 8                             SUMMARY OF LEGAL CLAIMS
 9         The Complaint’s caption lists twenty-six legal theories and/or remedies
10   under which Plaintiff seeks relief. Most (including breach of contract, fraud, and
11   unfair business practices) are state law claims, and this Court declines to exercise
12   supplemental jurisdiction over those claims.
13         Claim nos. 2 (identity theft under 18 U.S.C. § 1028A), 15 (misprision of
14   felony under 18 U.S.C. § 4), and 16 (conspiracy under 18 U.S.C. §§ 241 and 242)
15   are based on criminal statutes. Private individuals lack standing to assert claims
16   for relief based on criminal statutes. See Linda R.S. v. Linda D., 410 U.S. 614,
17   619 (1973) (“[I]n American Jurisprudence … a private citizen lacks a judicially
18   cognizable interest in the prosecution or nonprosecution of another.”); Aldabe v.
19   Aldabe, 616 F.2d 1089 (9th Cir. 1980).
20         Claim no. 5 attempts to state a cause of action based on 28 U.S.C. § 1652,
21   a procedural code section which provides, “The laws of the several states, except
22   where the Constitution or treaties of the United States or Acts of Congress
23   otherwise require or provide, shall be regarded as rules of decision in civil actions
24   in the courts of the United States, in cases where they apply.” 28 U.S.C. § 1652.
25   This law does not confer a private cause of action.
26         Plaintiff’s potential remaining federal claims are no. 3 (violations of the
27   Fair Credit Reporting Act [“FCRA”] at 15 U.S.C. §§ 1681–1681x), and nos. 4
28   and 8 (violations of the Fair Debt Collections Practices Act [“FDCPA”] at 15
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 1   U.S.C. § 1692 et seq.)
 2                                              III.
 3                      SUMMARY OF FACTUAL ALLEGATIONS
 4         Plaintiff alleges that in 2007, she purchased a parcel of real property in an
 5   unincorporated area of Orange County known as Assessor’s Parcel Number
 6   (“APN”) 125-120-27. (Complaint at 3, 8.) Plaintiff, along with co-borrowers
 7   Louis and Jacqueline Hanson (the “Hansons,” Plaintiff’s brother-in-law and
 8   sister) obtained a first mortgage from Countrywide Home Loans in the amount
 9   of $1,190,000 (the “First Mortgage”). (Id. at 11.) Plaintiff also obtained a
10   second loan, a home equity line of credit (the “HELOC”) for $170,000. (Id.)
11   Plaintiff paid off the HELOC in November 2007. (Id.)
12         Plaintiff alleges that a grant deed was created and notarized reflecting the
13   conveyance of the property from the seller to Plaintiff as sole title holder. (Id. at
14   8.) The grant deed that was recorded, however, was a “counterfeit document”
15   that showed title conveyed to both Plaintiff and the Hansons. (Id.)
16         In January 2008, Plaintiff contacted Countrywide about “problems” with
17   the loan, and representatives advised her to let the loan go delinquent for 90 days
18   before seeking a modification. (Id. at 12.) Plaintiff made her “last payment
19   under duress” in November 2008. (Id.) From Spring of 2008 through 2010,
20   numerous foreclosure documents were issued against the property, but
21   rescinded. (Id. at 13.)
22         In 2009 (after Bank of America [“BoA”] had taken over Countrywide),
23   Plaintiff disputed certain entries on her credit report with BoA. (Id. at 12.) In
24   2010, she contacted BoA and was advised that they would not pursue
25   foreclosure because they lacked “standing” to do so. (Id.)
26         On October 26, 2010, BoA recorded an assignment of the First Mortgage’s
27   deed of trust to Bank of New York Mellon (“BNYM”) as trustee for the
28   certificate holders of a trust called the Cwalt Inc. Alternative Loan Trust 2007-
                                                  3
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 1   HY9 Mortgage Pass Through Certificates, Series 2007-HY9, a trust formed
 2   under New York trust law (the “Cwalt Trust”). (Id. at 9, 13.) The BoA notary
 3   who notarized the assignment was Jon Secrist. (Id. at 6.) Mr. Secrist was a
 4   plaintiff in an earlier Central District lawsuit against BoA, case no. CV-16-67-
 5   GW (JCx).1 (Id.)
 6           Plaintiff contends that the assignment of the deed of trust is void for
 7   several reasons. She contends that the assignment was executed after that date
 8   authorized by either New York trust law (90 days) or the Pooling and Servicing
 9   Agreement (“PSA”) under which her mortgage was securitized (3 years). (Id.
10   at 9.) She claims that there is no “authority or standing” for the Cwalt Trust to
11   exist, because her property did not close escrow until July 2, 2007, an apparent
12   argument that a trust which does not own any property does not exist. (Id.) She
13   contends that the Cwalt Trust’s name is invalid; it is an attempt to “trick the
14   readers” because “for certificate holders” and “on behalf of” are not the same
15   thing. (Id.)
16           Plaintiff alleges that in 2012, she satisfied a second trust deed in the
17   amount of $400,000. (Id. at 11.) It is unclear which lender held the second trust
18   deed.
19           In April 2012, Select Portfolio Servicing, Inc. (“Select”) began servicing
20   Plaintiff’s loan(s). (Id. at 13.) Plaintiff complains that she cannot be considered
21   in “default” on her First Mortgage if the servicers took it upon themselves to pay
22
23           1
              In that lawsuit, after BoA settled litigation involving allegations of notary
24   fraud and “robo-signing,” Mr. Secrist sued BoA alleging that it defamed him by
25   not litigating the claims and giving him an opportunity to clear his name. BoA
     filed a motion to strike the complaint as a strategic lawsuit against public
26   participation (“SLAPP”) suit. The motion was granted with leave to amend.
27   When Mr. Secrist failed to file an amended complaint, the court dismissed the
     lawsuit for lack of prosecution.
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 1   certain obligations (possibly property tax or insurance) when Plaintiff never
 2   contracted with them to do so. (Id.) In July 2013, Plaintiff sent an authorized
 3   representative to Select’s office in Utah to view original wet ink signatures on
 4   documents pertaining to her loan. (Id. at 16.) None were produced. (Id.)
 5         In July 2014, a representative of BoA told Plaintiff that BoA should have
 6   filed a satisfaction of mortgage and advised Plaintiff to contact BoA’s records
 7   department. According to Plaintiff, BoA’s records reflect the loan was satisfied
 8   in January 2009. (Id. at 17.)
 9         In November 2014, Plaintiff changed her name because she thought that
10   changing her name would “protect the estate from further pirating ….” (Id. at
11   23-24.) She claims that her “autograph” was the lenders’ collateral, not her real
12   property. (Id. at 24.)
13         After various notices of default, Plaintiff’s lender(s) recorded a notice of
14   trustee sale on September 30, 2015. (Id. at 19.) Plaintiff alleges that on October
15   7, 2015, the property was “illegally swat teamed by the Orange County Sheriff’s
16   Department.” (Id. at 20.) The officer in charge told Plaintiff that the property
17   had been foreclosed and was owned by the bank. (Id.) Plaintiff reported this
18   “trespass” to the County Board of Supervisors and District Attorney, but they
19   “ignored the crimes” and did not investigate. (Id. at 21.)
20         Plaintiff alleges that a fraudulent foreclosure sale took place on August 8,
21   2016. (Id. at 22-23.) In June 8, 2017, Plaintiff received a notice of eviction by
22   the Wolf Law Firm. (Id. at 25.) Plaintiff does not allege the case number or
23   status of any underlying unlawful detainer action.
24         It is unclear if Plaintiff alleges that the foreclosure of her property was
25   fraudulent because she had paid off her First Mortgage in 2009, but
26   Countrywide/BoA’s records were so sloppy that they failed to memorialize her
27   payments, or for some other reason(s). Even to the extent Plaintiff alleges she
28   paid off her First Mortgage, it is further unclear if she means that she and her

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 1   co-borrowers made the loan payments, or if she means that her loan should be
 2   considered repaid because of wrongdoing in the mortgage industry.                  For
 3   example, Plaintiff alleges that the 2008 “Bank Bail Out paid off all outstanding
 4   alleged mortgages within these VOID tranches,” suggesting that the bank
 5   bailout paid off her First Mortgage. (Id. at 26.)
 6                                            III.
 7                                PLEADING DEFECTS
 8         Regarding the FDCPA, Plaintiff alleges that debt collectors made false,
 9   deceptive or misleading representations to her in connection with debt collection
10   efforts. (Id. at 34.) She does not identify what statements, made by whom, she
11   contends violated the FDCPA. Moreover, although the Ninth Circuit has not
12   yet decided whether the FDCPA applies to non-judicial foreclosure proceedings,
13   district courts within this circuit have concluded that they do not constitute “debt
14   collection” under the FDCPA. See, e.g., Aniel v. EMC Mortg. Corp., 2011 WL
15   835879, at *5 (N.D. Cal. Mar. 4, 2011); Hanaway v. JP Morgan Chase Bank,
16   2011 WL 672559, at *4 (C.D. Cal. Feb. 15, 2011) (“Since a transfer in interest
17   in the aim of a foreclosure, and not a collection of debt, the foreclosure
18   proceeding is not a debt collection action under the FDCPA.”); Hiladgo v.
19   Aurora Loan Servs. LLC, 2013 WL 4647550, at *4 (S.D. Cal. Aug 29, 2013)
20   (“[A]n unlawful detainer action regarding holdover tenants after foreclosure
21   does not qualify as a collection of debt within the meaning of the FDCPA.”).
22         Regarding the FCRA, Plaintiff’s only allegations concern credit report
23   entries in 2009. (Id. at 12.) Plaintiff fails to explain clearly (1) what false
24   information was posted in her credit report, (2) by whom, (3) why she believes
25   it was false, (4) what happened when she disputed it, and (5) when it was
26   removed. To the extent this claim arises out of events that occurred in 2009,
27   Plaintiff fails to allege any basis for tolling the two-year statute of limitations. 28
28   U.S.C. § 1681p(1).

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 1                                           IV.
 2                  INADEQUATE SHOWING OF INDIGENCY
 3         Plaintiff failed to complete the declaration in support of her IFP
 4   application. She left Question 2 blank rather than stating her wages. While she
 5   may have meant to indicate that she does not currently receive any wages, she
 6   wrote “N/A” in response to other questions that did not apply.
 7         In response to Question 3, she indicates that she receives $1,275
 8   collectively from two tenants, presumably monthly. In response to Question 5,
 9   however, she fails to identify the real property that she is renting to these tenants
10   – unless she meant to indicate that they are renting the property in dispute.
11                                            V.
12                                    DISPOSITION
13         While the current Complaint fails to allege facts sufficient to state a timely
14   claim under the FCRA or FDCPA, the Court cannot conclude that leave to
15   amend would be futile. Similarly, Plaintiff’s failure to show that she cannot
16   afford the filing fee could potentially be cured by amendment.
17         Plaintiff is encouraged to call (714) 541-1010 (extension 222) to make an
18   appointment to receive free assistance from the federal pro se clinic at the Ronald
19   Reagan Federal Building and United States Courthouse, 411 W. 4th Street,
20   Room 1055. Santa Ana, CA. The volunteer attorneys who staff the clinic may
21   be able to help Plaintiff decide what matters should be raised in any state legal
22   proceedings involving the foreclosure and/or unlawful detainer, versus what
23   federal claims, if any, Plaintiff may have.
24         For these reasons, the Court recommends that Plaintiff’s IFP application
25   be denied, but with leave to amend.
26         Dated: August 16, 2017            ______________________________
27                                                 KAREN E. SCOTT
                                                   United States Magistrate Judge
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